Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 11of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284206
                                                                            90038




                        EXHIBIT 2
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 22of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284207
                                                                            90039


                                                             CONFIDENTIAL




Expert Analysis: Lacey R. Keller




1
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 33of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284208
                                                                            90040




              A. Contents and Figures
             1.            Table of Contents
A.        Contents and Figures ............................................................................................................................ 2
     1.      Table of Contents .............................................................................................................................. 2
     2.      Table of Figures ................................................................................................................................. 4
B.        Qualifications ........................................................................................................................................ 6
C.        Remuneration ....................................................................................................................................... 9
D.        Scope of Report..................................................................................................................................... 9
E.        Summary of Opinions............................................................................................................................ 9
F.        Materials Reviewed ............................................................................................................................ 12
G.        Data Included in the Analysis .............................................................................................................. 13
H.        Limitations of Analysis ........................................................................................................................ 13
I.        Overview: Labeler Presence in Summit and Cuyahoga ...................................................................... 15
J.        Compliance Metric Application........................................................................................................... 16
     1.      Twice Trailing Twelve-Month Average (“Double National Average”) ............................................ 17
     2.      Three Times Trailing Twelve-Month Average (“Triple National Average”) .................................... 17
     3.      McKesson: 8,000 Rule ..................................................................................................................... 18
     4.      Maximum Monthly, Trailing Six-month Threshold (“Common Sense”) ......................................... 18
     5.      Qualitest (Endo): 25%/50% National Average ................................................................................ 18
     6.      Qualitest (Endo): 30,000 Rule ......................................................................................................... 19
     7.      Mallinckrodt: Rolling Average (Double) .......................................................................................... 19
     8.      Mallinckrodt: Rolling Average (Triple) ............................................................................................ 20
     9.      Purdue ............................................................................................................................................. 20
     10.          Actavis (Teva): 125% Order Average........................................................................................... 21
     11.          Teva: Three Standard Deviations ................................................................................................ 21
     12.          Multiple Distributors ................................................................................................................... 22
K.        Part One: Manufacturer to Prescriber Analysis .................................................................................. 23
     1.      Defendant Access to IQVIA Data..................................................................................................... 27
     2.      Results of Compliance Metric Application ...................................................................................... 29
     3.      Flagged Prescriber 1: Dr. Clive Sinoff .............................................................................................. 32
     4.      Flagged Prescriber 2: Dr. Guang Yang ............................................................................................. 36
     5.      Flagged Prescriber 3: Dr. Ronald Celeste ........................................................................................ 40
     6.      Flagged Prescriber 4: Dr. James Lundeen ....................................................................................... 43

2
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 44of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284209
                                                                            90041



     7.        Flagged Prescriber 5: Dr. Adolph Harper ........................................................................................ 46
     8.        Flagged Prescriber 6: Dr. Syed Jawed Akhtar-Zaidi......................................................................... 50
     9.        Small Labeler Impact ....................................................................................................................... 53
     10.          Baseline Year Analysis ................................................................................................................. 56
L.        Part Two: Manufacturer to Pharmacy Analysis .................................................................................. 58
     1.        Results of Compliance Metric Application ...................................................................................... 59
     2.        Flagged Pharmacy 1:                                .................................................................................................. 63
     3.        Flagged Pharmacy 2:                                            ..................................................................................... 66
     4.        Flagged Pharmacy 3:                                                            . .................................................................... 70
     5.        Flagged Pharmacy 4:                                               .................................................................................. 73
     6.        Flagged Pharmacy 5:                                                   .............................................................................. 76
     7.        Flagged Pharmacy 6:                        .......................................................................................................... 79
M. Downstream Customers of Suspicious Orders ................................................................................... 83
N.        Methodology....................................................................................................................................... 85
     1.        ARCOS Data ..................................................................................................................................... 85
     2.        IQVIA Xponent®............................................................................................................................... 85
          a.      Supplementing the Data - Drug Information .............................................................................. 87
          b.      Supplementing the Data - Prescriber Information ..................................................................... 88
     3.        Chargeback / 867 Data .................................................................................................................... 89
          a.      Field Mapping ............................................................................................................................. 91
          b.      Summary Chargeback Field Descriptions.................................................................................... 93
          c.      Exclusions .................................................................................................................................... 93
          d.      Data Cleaning and Enrichment ................................................................................................... 94
          e.      Calculations ................................................................................................................................. 97
          f.      Anonymous Buyers ..................................................................................................................... 97
          g.      Mismatched Labelers .................................................................................................................. 98
     4.        Mallinckrodt Peculiar Transactions Data ........................................................................................ 98
O.        Conclusion ........................................................................................................................................... 99
P.        Exhibit 1 – Lacey Keller Resume........................................................................................................ 100
Q.        Exhibit 2 – Results of Manufacturer to Prescriber Analysis Compliance Metric Application ........... 101
R.        Exhibit 3 – Results of Manufacturer to Pharmacy Analysis Compliance Metric Application ........... 101
S.        Exhibit 4 – Code ................................................................................................................................ 101




3
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 55of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284210
                                                                            90042



           2.            Table of Figures
Figure 1 Bates Numbers of Defendant Labeler Data .................................................................................. 12
Figure 2 Number of Dosage Units Flagged by Compliance Metrics, Per Year (IQVIA – Defendant Labelers;
1997-2006, 2008-2017 Summit, Cuyahoga) ............................................................................................... 31
Figure 3 Physician Dosage Units Compared to Per Physician Specialty Average: Sinoff (IQVIA – all
labelers; 1997-2006, 2008-2017) ................................................................................................................ 33
Figure 4 Prescriptions by Labeler Over Time: Sinoff (IQVIA – Defendant Labelers; 1997-2006, 2008-2017)
 .................................................................................................................................................................... 35
Figure 5 Dosage Units by Labeler Over Time: Sinoff (IQVIA – Defendant Labelers; 1997-2006, 2008-2017)
 .................................................................................................................................................................... 35
Figure 6 Physician Dosage Units Compared to Per Physician Specialty Average: Yang (IQVIA – all labelers;
1997-2006, 2008-2017)............................................................................................................................... 37
Figure 7 Prescriptions by Labeler Over Time: Yang (IQVIA – Defendant Labelers; 1997-2006, 2008-2017)
 .................................................................................................................................................................... 38
Figure 8 Dosage Units by Labeler Over Time: Yang (IQVIA – Defendant Labelers; 1997-2006, 2008-2017)
 .................................................................................................................................................................... 39
Figure 9 Physician Dosage Units Compared to Per Physician Specialty Average: Celeste (IQVIA – all
labelers; 1997-2006, 2008-2017) ................................................................................................................ 40
Figure 10 Prescribing by Labeler: Celeste (IQVIA – all Labelers; 1997-2006, 2008-2017) .......................... 41
Figure 11 Prescriptions by Labeler Over Time: Celeste (IQVIA – Defendant Labelers; 1997-2006, 2008-
2017) ........................................................................................................................................................... 42
Figure 12 Dosage Units by Labeler Over Time: Celeste (IQVIA – Defendant Labelers; 1997-2006, 2008-
2017) ........................................................................................................................................................... 42
Figure 13 Physician Dosage Units Compared to Per Physician Specialty Average: Lundeen (IQVIA – all
labelers; 1997-2006, 2008-2017) ................................................................................................................ 44
Figure 14 Prescriptions by Labeler Over Time: Lundeen (IQVIA – Defendant Labelers; 1997-2006, 2008-
2017) ........................................................................................................................................................... 45
Figure 15 Dosage Units by Labeler Over Time: Lundeen (IQVIA – Defendant Labelers; 1997-2006, 2008-
2017) ........................................................................................................................................................... 46
Figure 16 Physician Dosage Units Compared to Per Physician Specialty Average: Harper (IQVIA – all
labelers; 1997-2006, 2008-2017) ................................................................................................................ 47
Figure 17 Prescriptions by Labeler Over Time: Harper (IQVIA – Defendant Labelers; 1997-2006, 2008-
2017) ........................................................................................................................................................... 49
Figure 18 Dosage Units by Labeler Over Time: Harper (IQVIA – Defendant Labelers; 1997-2006, 2008-
2017) ........................................................................................................................................................... 49
Figure 19 Physician Dosage Units Compared to Per Physician Specialty Average: Akhtar-Zaidi (IQVIA – all
labelers; 1997-2006, 2008-2017) ................................................................................................................ 51
Figure 20 Prescriptions by Labeler Over Time: Akhtar-Zaidi (IQVIA – Defendant Labelers; 1997-2006,
2008-2017) .................................................................................................................................................. 52
Figure 21 Dosage Units by Labeler Over Time: Akhtar-Zaidi (IQVIA – Defendant Labelers; 1997-2006,
2008-2017) .................................................................................................................................................. 53
Figure 22 Total Prescriptions Over Time Compared to 1997 Prescription Total (IQVIA – Defendant
Labelers; 1997-2006, 2008-2017 Summit, Cuyahoga) ................................................................................ 56
Figure 23 Dosage Units by Labeler Over Time:                                                    (ARCOS; 2006 - 2014) .................................. 64


4
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 66of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284211
                                                                            90043



Figure 24 Dosage Units by Labeler Over Time:                                                (Chargebacks – Defendant Labelers; Varies
Between 1998-2018)................................................................................................................................... 66
Figure 25 Dosage Units by Labeler Over Time:                                                            (ARCOS; 2006 - 2014) ...................... 68
Figure 26 Dosage Units Per Labeler Over Time:                                                              (Chargebacks – Defendant Labelers;
Varies Between 1998-2018)........................................................................................................................ 69
Figure 27 Dosage Units by Labeler Over Time:                                                                               (ARCOS; 2006 - 2014) ... 71
Figure 28 Dosage Units Per Labeler Over Time:                                                                               (Chargebacks –
Defendant Labelers; Varies Between 1998-2018) ...................................................................................... 72
Figure 29 Dosage Units by Labeler Over Time:                                                                (ARCOS- Defendant Labelers; 2006
- 2014) ......................................................................................................................................................... 74
Figure 30 Dosage Units by Labeler Over Time:                                                                (Chargebacks – Defendant
Labelers; Varies Between 1998-2018) ........................................................................................................ 75
Figure 31 Dosage Units by Labeler Over Time:                                                                      ARCOS; 2006 – 2014) ............ 77
Figure 32 Dosage Units by Labeler Over Time:                                                                    (Chargebacks – Defendant
Labelers; Varies Between 1998-2018) .................................................................................................... 79
Figure 33 Dosage Units by Labeler Over Time:                                         (ARCOS; 2006 - 2014) ......................................... 81
Figure 34 Dosage Units by Labeler Over Time:                                                               Chargebacks – Defendant Labelers;
Varies Between 1998-2018)........................................................................................................................ 82




5
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 77of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284212
                                                                            90044




        B. Qualifications
    1. I am the Managing Director for Data Mining & Analytics with Gryphon Strategies, Inc. I was hired
       to create and direct their data mining and analytics division. In my current role, I advise financial
       and law firms on leveraging data for investments and investigations.

    2. Prior to founding Gryphon Strategies’ Data Mining & Analytics division, I founded and directed the
       Research and Analytics Department for the New York State Office of the Attorney General (NYAG)
       from 2013 to 2017. As a result of my leadership, the NYAG became the first state attorney
       general’s office to hire a data scientist. I grew my staff from one research assistant to seven full-
       time staff.

    3. I have also worked in various research and analytical positions, including the research department
       of the Service Employees International Union (SEIU) 32BJ, the largest property services union in
       the country. I was also a researcher for the Global Clearinghouse and a Teaching Assistant at the
       New School for Social Research. As a consultant, I have been hired by and have provided pro-
       bono assistance to many state and federal agencies as well as nonprofits on the use of data
       mining and analytics in investigations.

    4. The work I have done throughout my career relates directly to analysis undertaken in this report.
       For over six years, I have employed a data-driven approach to identifying suspicious, sometimes
       illegal, conduct. I have developed a specialty in compiling and analyzing disorganized and
       disparate data. Since 2014, I have been immersed in issues and investigations related to the
       opioid crisis. This analysis drew upon my unique and specialized skillset that has been developed
       over a decade of research and analytical experience.

    5. I was often tasked with identifying instances of wrongdoing by companies. For example, while at
       SEIU 32BJ, I reviewed public records for data to identify wrongdoing by cleaning companies and
       cleaning contractors around the country. For example, through thorough research and
       documentation, I was able to identify a cleaning company that was creating shell companies to
       keep a small business cleaning contract at the Walter Reed Medical Center. SEIU 32BJ submitted
       this information to the General Services Administration. To the best of my knowledge, that
       company or its subsidiaries/affiliates lost the contract for that site.

    6. My primary directive when the NYAG’s office hired me was to help the office identify areas for
       investigation using data. Frequently, I was given a subject area to investigate without having any
       prior expertise in the area. I would then educate myself through research and talking with subject
       matter experts to allow me to help them identify new areas of investigation. I often would use
       public data to assist with these investigations. For instance, I combined publicly available tax
       assessor, mortgage records, and real estate listings to identify hundreds of land owners
       potentially out of compliance with the city’s 421-a tax benefit program that the NYAG
       investigated with various settlements with landlords.




6
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 88of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284213
                                                                            90045



    7. My work over the past decade has required me to extract, process, clean, merge, and analyze
       both public and confidential data, which often comes poorly formatted and from disparate
       locations. From these convoluted datasets, I have identified trends and outliers that have
       furthered investigations or prosecution.

    8. For over four years, I have worked extensively on issues relevant to opioids. While at the NYAG, I
       developed and managed the Community Overdose Prevention (COP) Program to use data
       analytics to determine how best to deploy life-saving naloxone across law enforcement officers
       statewide. Under that program, I oversaw the collection of information related to naloxone
       disbursements, which jumpstarted tracking opioid overdoses more efficiently throughout the
       state. I used the data I collected, as well as external datasets, to deepen understanding of opioid
       usage in New York State. Chief among the datasets I used was the Drug Enforcement
       Administration (DEA) Automation of Reports and Consolidated Orders System (ARCOS) data. I
       continue to work with ARCOS data and have now utilized both the publicly available and
       confidential shipment-level ARCOS data to provide attorneys with granular analysis and support
       the initiatives and litigation pursued by policymakers and law enforcement.

    9. I have written or co-authored numerous reports using my data analysis to advance a variety of
       investigations into illegal activity, many of which have been covered by national media outlets.
       For instance, my analysis published in a report issued by the NYAG helped reveal Airbnb’s illegal
       activity in New York City. In addition, while at SEIU 32BJ, I authored two papers about the physical
       building conditions of New York City public school facilities, the second of which was widely
       covered by local news and prompted a city council oversight hearing to address the issues raised.

    10. In my work, I have frequently received produced data in a format not initially conducive to
      analysis, such as productions containing PDF versions of spreadsheets or thousands of files of
      various formats not described in a volume of bates. In a case that settled for hundreds of millions
      of dollars, I supervised the team that identified and extracted information about shipments from
      the labeler defendant’s production. Because of this analysis, my team and I were able to detect
      millions of improper shipments made in New York State that were then used by NYAG attorneys
      in court and ultimately led to the judge ordering the labeler defendant to pay almost $250 million
      in damages.

    11. My experience also includes processing very disorganized data produced by labeler defendants
      in various cases for investigations and prosecution. For a wage theft case brought by the NYAG, I
      was asked to identify instances of an employer “stealing time” from employees. To complete this
      analysis, I had to extract information from thousands of PDF employee time cards to extrapolate
      and identify instances of missing time. Based on my analysis, I determined that over $500,000 in
      owed money to employees.

    12. In my work, I supervise complicated data management and analysis. For an NYAG investigation
      into posting fake trades in emerging market foreign exchange currency options, I used scripts to
      extract relevant trade information from two years of instant message, email, and voice
      communications between brokers. Working with my team, I then compared that relevant


7
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 99of
                                                          of102.
                                                             102. PageID
                                                                  PageID#:
                                                                         #:284214
                                                                            90046



      information from postings to the trade confirmations of actual completed trades brokered to
      determine which trades were real and which were fabricated. This analysis was relied upon to
      generate a criminal complaint filed by the NYAG. The firms ultimately pled guilty to one count of
      securities fraud.

    13. I am also experienced in working with vast amounts of sensitive information. In developing the
      interactive dashboard on illegal gun trafficking in New York, the Attorney General’s Office
      obtained the anonymized and the highly confidential firearms tracing data from the Bureau of
      Alcohol, Tobacco, Firearms and Explosives. My team and I were granted authorization from
      dozens of police departments to access their firearms trace data on their behalf. I transformed
      that data into an interactive tool used by New York State law enforcement agencies to identify
      potential firearms trafficking, based on analytics relevant to firearms trafficking. This data
      required considerable cleaning and analysis, including geocoding and entity resolution to identify
      the same firearm purchaser that relied on different aliases, addresses, and other biographical
      information to avoid detection.

    14. I frequently am called upon to analyze very large data. While working on investigations of
      broadband internet investigations at the NYAG, I collected public speed test data and submissions
      to office made by the general public about the download speed. This preliminary analysis was the
      basis for opening an investigation into the practices of the largest broadband providers regarding
      the internet speeds of its customers. As part of this investigation, I drafted the data request to
      broadband providers for account and other relevant information that would impact a customer’s
      internet speed. I connected several datasets totaling hundreds of millions of records, including
      the customer account data (what internet tier they were provisioned), the internet speed test
      results, as well as information about the modem/router configuration. The results of my analysis
      and the analysis that I supervised were used in the complaint the Attorney General filed against
      Time Warner Cable. The case ultimately settled for $174.2 million.

    15. I received the NYAG’s Innovation in Law Enforcement Award for my work on gun trafficking and
      twice received the NYAG’s Superior Service Award.

    16. I was a member of the 28th Class of Coro’s Leadership New York and was part of City and State’s
      40 Under 40 Rising Stars in 2016. I serve on the Standards Review Council for the Multifamily
      Operating Standards Assessment & Improvement Council (MOSAIC) – a New York Benefit
      Corporation designed to establish fair and independent operating standards for quality of living
      within the multifamily housing market.

    17. I hold a Master of Economics from the New School and a Bachelor of Business Administration
      from Washburn University.

    18. I have not testified or been deposed in the last four years.

    19. I was an invited speaker at the following conferences:



8
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 10
                                                        10of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284215
                                                                             90047



            a. Association of Certified Fraud Examiners (ACFE) Global Fraud Conference (forthcoming:
               2019)
            b. NASAA Investment Adviser Training (2017, 2019)
            c. Association of Certified Fraud Examiners (ACFE) Law Enforcement and Government Anti-
               Fraud Summit (2018)
            d. PLI Hedge Fund and Private Equity Enforcement & Regulatory Developments 2018
               (2018)

    20. My CV is attached as Exhibit 1.

        C. Remuneration
    21. Gryphon is being compensated for its time and expenses. My hourly rate is $475 per hour. Other
      Gryphon personnel working on this matter have billing rates of $275 to $375 per hour.

        D. Scope of Report
    22. This report focuses specifically and exclusively on manufacturers’ anti-diversion and suspicious
      order monitoring programs. Throughout the report, I will refer to labelers and manufacturers
      interchangeably as the entities that create the drugs analyzed.

    23. I have been asked to report the results of applying certain compliance metrics applicable to
      manufacturers to prescribers.

    24. I have been asked to report the results of applying certain compliance metrics applicable to a
      manufacturer to pharmacies and physicians.

    25. I have been asked to trace the orders made by distributors that were deemed peculiar by a
      manufacturer to the end pharmacy buyer through that manufacturer’s chargeback data.

    26. I have been asked to report the impact on opioid prescribing in Summit and Cuyahoga County if
      a small labeler had reported the activity of suspicious prescribers.

        E. Summary of Opinions
    27. My findings demonstrate that there were millions of prescriptions and purchases of billions of
      dosage units and MMEs in Cuyahoga and Summit counties that defendant manufacturers of
      opioids (called labelers) could have identified as being of unusual size or frequency and deviating
      from the normal pattern yet were unreported. I found that defendant labelers purchased external
      data sources (IQVIA) and maintained internal data sources (chargebacks, 867 data, sales data)
      that provided them with granular information regarding the entity distributing, prescribing, and
      purchasing their opioid products. All defendant labelers purchased IQVIA Xponent data. All of this
      information was sufficient to support a Suspicious Order Monitoring (SOM) program identifying
      problematic distributors, prescribers and pharmacies. In particular, it was and is possible using

9
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 11
                                                        11of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284216
                                                                             90048



         standard data-analytic tools to determine from the data that the defendant labelers had in their
         possession suspicious prescribing and purchasing patterns, and to identify particular physicians
         and particular pharmacies with problematic prescribing patterns.

       28. I found that defendant labelers purchased robust external data sources and maintained internal
         data sources that provided them with granular information regarding the entity distributing,
         prescribing, and purchasing their opioid products. This information was sufficient to support a
         Suspicious Order Monitoring (SOM) program identifying problematic prescribers and pharmacies.
         Nonetheless, defendant labelers did not implement robust monitoring programs and therefore
         failed to capture a substantial volume of potentially suspicious transactions.

       29. Although all defendant labelers purchased IQVIA Xponent® data, each used it to monitor
         potential inappropriate prescribing in different ways to differing degrees. Teva and Mallinckrodt,
         for example, committed to regularly monitor IQVIA Xponent as agreed to with the FDA in their
         Risk Monitoring Plans (RMP), also known as Risk Minimization Action Plans (RiskMAP).1 However,
         the details of how that data analysis would take place and what actions it would lead to was
         unspecified. To my knowledge only one defendant, Purdue Pharma, used IQVIA in a programmatic
         or algorithmic way2. Implementing Purdue’s calculations, however, requires additional data that
         has not been made available to me.

       30. Furthermore, instead of using this data to develop monitoring programs, defendants used it to
         inform their targeted marketing efforts to prescribers and evaluate drug performance. Similarly,
         despite the scope and detail of the chargeback data they maintained, defendant labelers did not
         use that data programmatically or effectively to capture suspicious activity among end buyers.

       31. To quantify the prescriptions or transactions that labelers could have readily detected were of
         unusual size or frequency, I applied a series of compliance metrics to each dataset. Defendant
         labelers and distributors originally developed all but one of these compliance metrics. Among
         these metrics were whether the volume prescribed or ordered was over a certain static threshold;
         whether a buyer significantly increased prescriptions or purchases relevant to their own histories;
         or how prescriptions or purchases compared to national averages for the same labeler opioid
         product. I then applied these compliance metrics to physicians and pharmacies to determine what
         suspicious activity could be detected by labelers. The last metric was derived from labeler
         defendants’ due diligence Standard Operating Procedures documents in which companies
         expressed concern that pharmacies may be purchasing large quantities of controlled substances
         from more than one distributor as a means of staying below distributor thresholds.
         Manufacturers were uniquely positioned to identify end-customers’ purchasing patterns and,
         thus, which customers were using multiple distributors.

       32. In Part One of this report, I analyzed the prescribing history of physicians from a labeler’s
         perspective. As previously noted, this analysis relied on IQVIA Xponent® data, which was often
         purchased by defendant labelers for marketing purposes. In fact, this dataset was produced

1TEVA_CHI_00049296, MNK-T1_0007204156
2
    PDD1503450011

10
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 12
                                                        12of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284217
                                                                             90049



          through discovery to plaintiffs by one of the defendant labelers.3 By using these compliance
          metrics, I demonstrated that defendant labelers did not detect millions of prescriptions that could
          have signaled irregular prescribing patterns. In some cases, labelers even targeted these high-
          volume prescribers for prescriptions of their product instead of reporting their prescribing
          patterns as suspect.4 I found several examples of high opioid-prescribing physicians whose
          suspicious prescribing could have been evident but, to the best of my knowledge, were not
          reported by defendant labelers.

       33. Part Two of this report analyzed chargeback data. Chargebacks are requests submitted by
         distributors to labelers to protect distributors from profit loss when drugs are sold to a buyer at
         less than the distributor paid the labeler for them.5 Order information – including drug, dosage,
         package quantity – is contained in the request to demonstrate to the labeler that the opioid
         product was sold for a lesser value to an end buyer, such as a pharmacy. Because of this system,
         defendant labelers regularly received chargeback requests from distributors regarding purchases
         of specific national drug code (NDC) products. This gave the labelers access to information
         regarding the purchasing patterns of their downstream customers. With this data, I demonstrated
         that labelers had precise insight into pharmacies in Summit and Cuyahoga that were ordering
         excessive amounts of their opioid products. Using chargeback data alone, labelers could have
         detected the suspicious activity of pharmacies, and had they reported them, they would have
         stopped hundreds of millions of dosage units from being dispensed in Summit and Cuyahoga
         counties.

       34. I was asked by plaintiffs’ counsel to include additional analysis that examined what would have
         happened if a labeler with a comparatively small market share had reported and stopped supplies
         to suspicious prescribers. I demonstrated that if Janssen – the defendant labeler with the second
         smallest market share in Summit and Cuyahoga counties – had reported suspicious activity,
         prescriptions for millions of dosage units could have been stopped in Summit and Cuyahoga
         counties.

       35. The results of my analysis are stark: had the defendant labelers applied similar analytic
         techniques using their own compliance metrics, that analysis would have identified suspicious
         orders in Cuyahoga and Summit counties responsible for millions of opioid prescriptions and
         billions of MMEs, as shown below in Tables 8 through 11. In the aggregate, suspicious orders that
         defendant labelers could have identified, but apparently did not, were responsible for more than
         half of all opioid prescriptions filled in Summit and Cuyahoga Counties in the periods 1997-2006
         and 2008-2017, and for nearly half the MMEs dispensed there in that same period. My analysis
         also shows that closer analysis of the flagged prescriptions would have confirmed that multiple,
         identified doctors in Summit and Cuyahoga counties, not limited to those profiled in this report,
         were engaged in highly suspicious and likely improper prescribing. Similar, closer analysis of
         flagged pharmacies would have identified specific, identified highly problematic pharmacies. This
         analysis shows that it is and was possible to identify by name the problematic doctors and


3 ALLERGAN_MDL_02485011
4 MNK-T1_0001029479
5
    PPLP004397849

11
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 13
                                                        13of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284218
                                                                             90050
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 14
                                                        14of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284219
                                                                             90051



               g. “National Drug Code Directory,” U.S. Food & Drug Administration, January 2018 (current
                  version available at https://www.fda.gov/drugs/informationondrugs/ucm142438.htm);
               h. “Opioid Oral Morphine Milligram Equivalent (MME) Conversion Factors,” Centers for
                  Disease Control and Prevention, August 2017 (current version available at
                  www.cdc.gov/drugoverdose/resources/data.html);
               i. “NDC: Based On Drug Products in the Medicaid Drug Rebate Program,” Centers for
                  Medicare and Medicaid Services, April 2019 (current available at
                  https://data.medicaid.gov/Drug-Pricing-and-Payment);
               j. “Geocoder,” United States Census (current available at
                  https://geocoding.geo.census.gov/geocoder);
               k. “Physician Specialty Codes,” American Medical Association (current available at
                  http://cdn2.hubspot.net/hub/178504/file-2553042497-
                  pdf/documents/AMA Physician Specialty Codes.pdf?t=1425245957165
               l. Other documents cited in the text and footnotes below);

           G. Data Included in the Analysis
       37. The drugs found in the IQVIA Xponent® and chargeback/867 data included in this analysis are
         limited to the drugs identified in either the ARCOS data or those identified in the expert reports
         filed by Craig McCann and Meredith Rosenthal. In addition to the drugs they reviewed, I also
         included Hysingla, labeled by Purdue. Drugs were matched by NDC where possible and on
         standardized trade name matches. I did not include any buprenorphine or methadone products,
         even though there is documentation from defendant labelers that they knew that specific drugs in
         this drug family, namely Butrans and Suboxone, were also often misused and diverted9.

       38. Although there are other downstream customers, such as hospitals and pain clinics, as in the
         McCann and Rosenthal reports I only consider prescribers (physicians) and pharmacies (retail,
         chain) among the analyzed buyers. Including these additional buyers and drugs would have
         increased the suspicious activity this report identifies.

       39. All data is analyzed for the entire time frame available. IQVIA data ranges from 1997 through
         2017, with no data produced for 2007, as detailed above. Chargeback data was analyzed for the
         varied time periods that produced by defendant labelers. ARCOS data was analyzed for years
         2006 through 2014.

           H. Limitations of Analysis
       40. In drafting this analysis, I had an incomplete set of the defendant labelers’ data. Labeler
         defendants produced chargeback data for periods shorter than the years that they were
         manufacturing opioid products. Labeler defendants also had access to and maintained data
         sources that were more detailed than the chargeback and IQVIA Xponent® data that were
         produced. Produced documentation for some labeler defendants show that supply chain data


9
    TEVA_MDL_A_06441627

13
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 15
                                                        15of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284220
                                                                             90052



       (such as 867 and 852 data) as well as patient and prescribing data such as IQVIA LRx®, were also
       used in investigations of suspicious prescribers and downstream customers.10

     41. This analysis does not analyze manufacturer to distributor transactions through ARCOS data,
       which is the subject of a supplemental report submitted by Craig McCann.

     42. The majority of the data produced to me was limited to opioid products; however, suspicious
       monitoring programs relied on non-controlled substances as a way to benchmark suspicious
       activity. In fact, several monitoring programs developed by manufactures11 and distributors12
       relied on the percentage of controlled substances to non-controlled substances as a metric.

     43. Additionally, labeler13 and distributor defendants evaluated the insurance status and method of
       payment for prescriptions and office visits, in particular the percentage of transactions paid for in
       cash.14 I did not have access to such detailed information for this analysis.

     44. I implemented the manufacturer and distributor developed compliance metrics as documented,
       without endorsement. I implemented the metrics using a close reading of the best information
       available from produced documents and instruction by counsel, providing the most accurate
       reflection of labeler defendants’ monitoring programs as they were represented in their own
       operating procedures and documentation. If substantially new documents or clarifications were
       to become available to me, I reserve the right to update the analysis.

     45. I had insufficient information from labeler defendants regarding when or whether they reported
       suspicious activity to the relevant authorities. Furthermore, I have limited knowledge of what
       action labeler defendants took with prescribers and pharmacies, including (but not limited to) due
       diligence after they noted suspicious behavior.15

     46. My opinions are based on my professional experience and training and rely on publicly available
       data and information and data and documents produced in this litigation, as described below. I
       continue to review documents and gather information and reserve the right to update my
       analysis and opinion based on additional documents or data that may become available.




10 Acquired_Actavis_00488498, ALLERGAN_MDL_01213256, PPLPC023000971890, Crowley-008, TEVA_MDL_A_00339164,

TEVA_MDL_A_00339163, Becker deposition (Mallinckrodt), TEVA_MDL_A_00339164
11
   PDD1503450011, ALLERGAN_MDL_03535132, ALLERGAN MDL 02146081, TEVA_MDL_A_02476562
12 MCKMDL00353141, CAH_MDL_PRIORPROD_AG_0029049, CAH_MDL_PRIORPROD_AG_0000013, CAH_MDL_PRIORPROD_AG_0000849
13 PDD1503450011, Gilles deposition (Mallinckrodt), Tomkiewicz deposition (Actavis/Teva), McGinn deposition (Actavis/Teva)
14 MCKMDL00353141
15
   Geraci (Purdue 30(b)(6).

14
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 16
                                                        16of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284221
                                                                             90053




          I. Overview: Labeler Presence in Summit and Cuyahoga
     47. The U.S. Food and Drug Administration defines a labeler as, “either a manufacturer, including a
       repackager or relabeler, or […] the entity under whose own label or trade name the product will
       be distributed.”16 In other words, labelers create brand name and generic drugs that reach the
       shelves of pharmacies and doctors’ offices. The next step in the distribution chain are the
       distributors, also often referred to as “wholesalers” by the labelers. I refer these entities as
       distributors throughout. As stated earlier, this analysis focuses solely on manufacturers’ anti-
       diversion and suspicious order monitoring programs and does not concern the activities of
       distributors.

     48. Several large labelers dominated the downstream opioid supply in Summit and Cuyahoga from
       1997 to 2017. Teva was the largest labeler of generic drugs nationwide, although they had two
       fentanyl-based brand names on the market in certain years (Fentora and Actiq).17 Mallinckrodt
       also manufactured a high percentage of generic drugs but produced a few brand names, like the
       hydromorphone product Exalgo.18 Other large labelers like Endo labeled a variety of brand name
       drugs, while labelers like Purdue became nearly synonymous with a specific brand name
       (OxyContin). The widespread release of OxyContin in the mid-1990s situated Purdue as a
       frontrunner among oxycodone labelers. 19,20

     49. The following tables provide a brief overview of which defendant labelers held the largest
       market shares in Summit and Cuyahoga counties as a backdrop for the detailed analysis of
       suspicious activity below. The four largest labelers, making up nearly 80% of each county’s
       market, were Teva, Mallinckrodt., Endo, and Purdue. Johnson & Johnson and INSYS had
       comparatively small market shares in Summit and Cuyahoga but were nonetheless the fifth and
       sixth largest labelers (respectively) and sold prominent brand names (Nucynta and Subsys,
       respectively.)

     50. The tables below analyze market shares by three different metrics: prescriptions, dosage units,
       and morphine milligram equivalents (MMEs). Dosage units21 were defined as the unit of dosage
       for a patient – in other words, the number of tablets, milliliters, or patches that may be prescribed
       or administered to a patient. MMEs allow for comparative analyses of drugs with different
       molecular bases (i.e., oxycodone, hydrocodone) by assigning each drug a different conversion to
       morphine.22 For example, opioid products of the same milligram weight containing


16Center for Drug Evaluation and Research. “Drug Approvals and Databases - National Drug Code Directory.” U S Food and Drug Administration

Home Page, Center for Drug Evaluation and Research, www.fda.gov/drugs/informationondrugs/ucm142438.htm.
17 Tevagenerics.com, www.tevagenerics.com/.
18Mallinckrodt.com, http://www.mallinckrodt.com/medguide/exalgo/.
19 “For Healthcare Professionals.” About OxyContin® (Oxycodone HCL Extended-Release Tablets) CII, www.purduepharma.com/healthcare-

professionals/products/oxycontin/.
20 Van Zee, Art. “The Promotion and Marketing of Oxycontin: Commercial Triumph, Public Health Tragedy.” American Journal of Public Health,

American Public Health Association, Feb. 2009, www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/.
21
   Office of Regulatory Affairs. “Compliance Policy Guides - CPG Sec 430.100 Unit Dose Labeling for Solid and Liquid Oral Dosage Forms.” U S
Food and Drug Administration Home Page, Office of Regulatory Affairs,
www.fda.gov/iceci/compliancemanuals/compliancepolicyguidancemanual/ucm074377.htm.
22 “Opioid Morphine EQ Conversion Factors August 2017.” CMS.gov Centers for Medicare & Medicaid Services, 3 Apr. 2019,

www.cms.gov/Medicare/Prescription-Drug-Coverage/PrescriptionDrugCovContra/.

15
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 17
                                                        17of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284222
                                                                             90054
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 18
                                                        18of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284223
                                                                             90055
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 19
                                                        19of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284224
                                                                             90056



         3.           McKesson: 8,000 Rule27
     57. An entity that prescribed or purchased more than 8,000 dosage units of oxycodone or
       hydrocodone within a calendar month was flagged, according to McKesson’s “Lifestyle Drug
       Monitoring Program.” The parameters for McKesson’s Lifestyle Drug Monitoring Program were
       described as “McKesson will investigate customer activity when sales of a given generic base
       ingredient exceed a predefined dosage unit threshold within a calender [sic] month... The same
       dosage threshold will be used for all classes of customers.” McKesson only tracked four drug
       types, two of which were non-opioids. In IQVIA data, prescribers who wrote more than 8,000
       dosage units of hydrocodone or oxycodone in a month were flagged, as were buyers who
       submitted more than 8,000 dosage units’ worth of chargebacks for oxycodone or hydrocodone.
       This metric was applied to IQVIA and chargeback data.

         4.           Maximum Monthly, Trailing Six-month Threshold (“Common Sense”)28
     58. Entities triggered this metric if their prescriptions or orders within a rolling 30-day period were
       in excess of their maximum dosage units or frequency of transactions in any of the preceding six
       months. Any orders within a month that deviated from the previous six-month trend were
       flagged. The methodology for this metric comes from Masters Pharm., Inc. v. Drug Enf’t Admin.,
       861 F.3d 206 (D.C. Cir. 2017).

     59. In order to meet the statutory requirements to monitor transactions of “unusual size, frequency,
       or pattern,” the “Maximum Monthly, Trailing Six-month Threshold” rule was outlined as the
       following:
              i. …that order—combined with other orders placed in the same 30-day period—requested
                 more doses of a controlled medication than the pharmacy had requested in any of the
                 previous six calendar months; (b) the pharmacy ordered a controlled medication more
                 frequently in a 30-day period than it had in any of the previous six calendar months;

     60. Any order that was shipped to a customer after it had been established that the customer had
       exceeded the six-month threshold was unlawful. This metric was applied to all distributors,
       physicians, and pharmacies. Each entity was held only to its own ordering or prescribing history.
       This metric was applied to IQVIA and chargeback data.

         5.           Qualitest (Endo): 25%/50% National Average29
     61. This metric captured buyers whose purchases for the month were 25% of the national average
       for a single drug code for retail pharmacies or 50% of the national average for a single drug code
       for chain pharmacies: “The maximum boundary for a pharmacy is 25% of the national average for
       the number of prescriptions filled monthly…Chains typically receive 50% of national average due
       to the limited number of brands on the pharmacy shelves and the Qualitest primary position. For
       a customer to receive 100% of the national average, Qualitest would need to be the only brand
       stocked and the only supplier of the product.”

27 MCKMDL00355041
28 McCann, Craig J. National Prescription Opiate Litigation. MDL No. 2804. 17-MD-2804. 2019.
29Qualitest did not use chargeback data until after their March 2013 meeting with DEA, PAR_OPIOID_MDL_0000021256, T. Norton Tr. 71:12-

73:5, E. Brantley 472:9-11

18
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 20
                                                        20of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284225
                                                                             90057




       62. The only data source to which this metric could be applied was ARCOS and it was only applied to
         the transaction data of Qualitest because the metric’s 25%/50% threshold logic was based on
         Qualitest market share, which Qualitest identified as smaller than other labelers.30 According to
         internal Qualitest communication, “The allowable averages are based on IMS and DEA ARCOS
         data.” IMS data that included filling pharmacy information was not made available by labeler
         defendants for this analysis, but national averages were calculated using confidential ARCOS data
         covering the years 2006-2014. National averages were calculated for all drugs and all labelers as
         necessary for implementation, but flagged data was limited only to Qualitest NDC. Qualitest
         further notes that, “One way we fulfill this requirement is by reviewing chargeback data, which
         gives us visibility into the quantities secondary customers (usually pharmacies) are purchasing of
         our NDC numbers from our direct customers. This allows us to identify potentially suspicious
         activity and alert our direct customers and obtain due diligence information from them.”31 As
         noted above, this metric was applied only to Qualitest’s ARCOS data.

           6.        Qualitest (Endo): 30,000 Rule32
       63. This metric was applied by Qualitest to capture any buyer within one calendar month that
         purchased more than 30,000 dosage units of hydrocodone purchases. This metric was applied to
         the chargeback data of all labeler defendants. In internal Qualitest communications, a threshold
         of 30,000 monthly units is specified as an output of an improved chargeback monitoring system,
         “Output. A list of all DEA registrants that purchased a minimum of 30,000 dosage units of any size
         or strength of Hydrocodone in the months identified, including a breakdown by month. It must
         also list the direct customer (wholesaler) the hydrocodone was purchased from. (There may be
         multiple wholesalers for one secondary customer.) Another option is to show all registrants that
         purchased 180,000 dosage units over the 6 month time frame with a breakdown by month.”33
         This metric was applied only to the hydrocodone transactions for labeler defendants’ chargeback
         data.
                                                                 34
           7.
       64. This metric was applied by Mallinckrodt to identify buyers whose purchases within a
         period                                                                   . Average purchases
         were evaluated both for order quantity (understood to be dosage units and MMEs) and order
         frequency (count of transactions submitted by a customer).35 Customers were held only to


                            . Customers were not evaluated by this SOMS program in the first six months of
          their relationship with Mallinckrodt. The rule also stipulated that the date be adjusted to always
          include                                                                . However, chargeback data
          was not provided in a format that allowed for
               . A rolling average would potentially capture more problematic purchases for customers that

30 PAR_OPIOID_MDL_0000021256
31
     PAR OPIOID MDL 0000000867
32 PAR_OPIOID_MDL_0000000867
33 PAR_OPIOID_MDL_0000000868
34 MNK-T1_0007476284
35
     MNK-T1_0007476290 , MNK-T1_0007476296

19
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 21
                                                        21of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284226
                                                                             90058



         have split large orders between months, potentially to avoid detection. This metric was applied to
         the chargeback data of all defendants.
                                                                                      36
          8.           Mallinckrodt:
     65. According to communications with plaintiffs’ counsel, Mallinckrodt at some points edited their
       SOMS program to capture buyers whose purchases within a               period were
                                                         , rather than the
                 , as specified in provided documents. As with the               metric, the threshold
       worked off an adjusted date that always included
               . However, chargeback data was not provided in a format that allowed for
                                                   . A rolling average would potentially capture more
       problematic purchases for customers that have split large orders between months, potentially to
       avoid detection, as I have seen occur in the data. This metric was applied to the chargeback data
       of all defendants.

          9.           Purdue37
     66. Purdue’s “Downstream” customer SOP38 (dated of Jan 2018) mentioned using chargeback data.
       However, it did not specify any thresholds, measures, rules, or algorithms used to analyzed
       chargebacks. The most specific information on the method of identifying suspicious downstream
       customers was: “Orders of Covered Products that significantly exceed monthly dispensing
       averages based on IMS data and/or the distributor’s monthly order averages from like
       customers.”39 None of the following crucial definitions was included in the Standard Operating
       Procedures:
             a. The definition of “significantly”
             b. The duration of the period over which “monthly dispensing averages” would be
                calculated
             c. The definition of “like customers”
             d. Under what circumstances IMS data would be used vs. distributor data
             e. Definition of what distributor data would be used in place of IMS
             f. Whether IMS data would be used to calculate per-downstream-customer average
                dispensing, or national averages for customers in general

     67. Purdue’s direct customer SOPs (draft dated 2015 according to counsel, 40 effective versions
       dated Sep. 25 201741) did not specify specific thresholds, rules, or algorithms. Standard Operating
       Procedure 000017 defined Purdue’s SOM tool/program as: “A cloud based IT program that uses
       an algorithm and custom rules/Thresholds to identify and pend Orders of Interest.”42 No further
       information about the algorithm was provided. The “thresholds” were discussed, but SOM

36 MNK-T1_0007476284
37 Purdue’s metric, to the extent it exists, was not clear enough to apply to this analysis. The rules for lifting flags were based on arbitrary

customer-by-customer "multipliers", plus rules about the days' supply were either 8 days (total), the agreed-upon baseline in a contract plus an
additional 7 days, or the agreed-upon baseline plus an additional 30 days –fall depending on the kind of contract or agreement in place at the
time between Purdue and their customer.
38
   PPLPC023000971890
39 PPLPC023000971893
40 PPLPC032000374808
41 PPLP004393084, PPLP004368540
42
   PPLP004368541

20
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 22
                                                        22of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284227
                                                                             90059



          000018 and the 2015 draft revealed that these customer thresholds were not determined
          programmatically. Instead, they were determined on a per customer basis, or “based in part on
          the information provided by the customer.” It was further stated that they “will be routinely
          adjusted at least annually based on updated national dispensing data, and customer information
          provided on annual review questionnaire… at any time throughout the year, the Thresholds will
          be adjusted accordingly.”43 Because of its lack of precision, I did not apply this metric.

          10.       Actavis (Teva): 125% Order Average44
       68. Unlike all other metrics, this Actavis-applied metric operated at the order level. It was calculated
         to flag any buyer that placed a single order that was 125% of their previous six-month average per
         order of a specific NDC. This metric is unusual among others used by the labeler defendants in
         that it does not look at the aggregate volume for a customer. As explained in internal
         communications in April 2008, “The DEA suspicious order report is not all that it’s thought to be. It
         looks at order quantities and compares them against a customer’s monthly usage. A customer can
         order three times a day or then times a week. Unless a customer places a large quantity (above
         their average) all at once, it won’t necessarily come up as suspicious. This is one of several flaws
         with this report.”45 This metric was applied to the chargeback data of all defendants.

          11.       Teva: Three Standard Deviations46
       69. Teva’s SOMS system (referred to as SORDS II) was in effect from approximately 2012 to 2015,
         when it was replaced by a system called DefOps.47 According the the Buzzeo/Cegedim compliance
         report, orders (by NDC) that were more than three standard deviations above the customer’s
         monthly mean were flagged by Teva: “Standard deviations are calculated for each product on a
         monthly and quarterly basis. Any order that is in excess of three standard deviations above the
         mean is ‘pended’ for further investigation.”48 The monthly mean was “refreshed” periodically:
         “recalculated… previously agreed upon six months.”49 I understood this to mean that the mean
         and standard deviation were calculated approximately twice per year, using the most recent six
         months of data. Orders were only evaluated based on volume, not frequency or pattern of orders.
         50
            Buzzeo notes that, “orders are ‘normalized’ for package size,”51 which I understood to mean
         that dosage units were used as the measure for this metric. Mean and standard deviation were
         calculated among the monthly totals per NDC per customer, grouping within drug types,
         according to my understanding of Buzzeo’s use of “product family” and “individual”: “The system
         measures orders by product family and focuses on individual DEA registration number.”52 This
         metric was applied to the chargeback data of all defendants.




43 PPLP004393089
44 Allergan_MDL_02081243, Allergan_MDL_02128514
45 Allergan_MDL_03411273
46 TEVA_MDL_A_01060005
47 TEVA_MDL_A_01060005, p 265 of McGinn Deposition
48
     TEVA_MDL_A_01060008
49 TEVA_MDL_A_01060009
50 TEVA_MDL_A_01060009
51 TEVA_MDL_A_01060008
52
     TEVA_MDL_A_01060008

21
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 23
                                                        23of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284228
                                                                             90060



       70. Teva’s more recent SOMS program, known as DefOps, went into effect around 2015. Teva has
         referred to this system as an “algorithm,” but that term does not refer to the methodology for
         setting suspicious order limits. Suspicious order thresholds (called Upper Control Limits or UCLs by
         Teva), are based on two standard deviations above the mean53 per drug, but the program was
         designed to allow “ability to adjust parameters by customer.”54 Customer order quantity is
         calculated in milligrams.55 Available documents do not specify the number of periods over which
         the mean and standard deviation are calculated for monthly and quarterly averages. Documents
         are contradictory on whether the UCLs are set per customer56, later referencing the UCLs listed in
         the DEA Drug Class Controls table57. The fields of that table are shown in the document and do
         not contain customer ID information—only customer type class (e.g., “wholesaler”) and customer
         size class (e.g. Extra Small, Medium). My understanding based on documents and communication
         with counsel is that customer limits start from a common baseline and are individually
         manipulated per customer. Teva’s DefOps SOMS was not replicated here because it is not
         programmatic, and documentation does not contain sufficient information to implement the
         DefOps rules as if they were.

           12.       Multiple Distributors
       71. When distributors set thresholds for triggering suspicious orders, buyers could have purchased
         opioids from multiple distributors to evade compliance thresholds. For example, if a buyer
         wanted to purchase a greater quantity of a drug than McKesson allowed within a specific time,
         the buyer may have obtained the same drug from another distributor in addition to its standing
         purchases from McKesson. Doing so would allow the buyer to obtain the desired quantity of the
         drug while remaining within distributor limitations. Buyers were flagged when they purchased the
         same drug formulation (drug family and dosage strength) from two or more distributors within
         one calendar month. Buyers were not limited to a cohort or percentile of purchasing for this
         metric, which was applied to all pharmacies. Manufacturers also use this approach, to differing
         degrees, to detect downstream customers that were ordering their products through more than
         one distributor to evade distributors’ SOMs programs. Actavis specifically mentioned chargeback
         data as a useful tool for doing so, 58 “Compliance will review Charge-back data for key products
         with the objective of ensuring that pharmacy level customers are not purchasing excessive
         quantities of controlled drug products from multiple supplier sources.” Purdue similarly discussed
         using its chargeback data to identify downstream customers using multiple distributors: “Review
         other wholesaler/distributor 867 and/or Chargeback Data to determine the amount of Covered
         Product the Downstream Customer is obtaining from different wholesalers/distributors.”59 This
         metric was applied to chargeback data.




53 TEVA_MDL_A_03479116
54 TEVA_MDL_A_02476562
55
     TEVA_MDL_A_03479124
56 TEVA_MDL_A_03479124
57 TEVA_MDL_A_03479120
58 TEVA_MDL_A_01037233
59
     PPLPC023000971894

22
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 24
                                                        24of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284229
                                                                             90061




          K. Part One: Manufacturer to Prescriber Analysis
     72. This section examines patterns of transaction between labelers and prescribers. IQVIA describes
       the key prescription information offerings of Xponent® data as: “A suite of sub-national reporting
       providing granular prescription performance perfectly aligned to help manage customer
       operations, sales targeting, and representative incentive compensation.”60 IQVIA is not reported
       through a government agency but is proprietary and available for purchase by pharmaceutical
       companies. Because IQVIA is survey data, figures are representative samples of prescription
       information per physician as reported by dispensing pharmacies.61

                                             62
                                      Due to rounding differences in such high volume data, percentages
        in IQVIA-based table totals will differ, depending on the metrics being displayed and what level of
        granularity is being used. Rather than adjusting numbers, I have preserved the raw form of the
        data in as exact of a format as possible, while rounding to whole numbers.

     73. Among the dozens of opioid-prescribing medical specialties, some prescribed opioids more often
       than others. The American Medical Association identified eight specialties as more likely opioid
       prescribers: primary care physicians (general practitioner/family medicine/internists), dentists,
       orthopedic surgeons, ear/nose/throat doctors, emergency care physicians,
       obstetricians/gynecologists, and anesthesiologists.63 In 2012, almost half of all opioids dispensed
       by pharmacies were prescriptions written by primary care physicians, according to a study
       described in the American Journal for Preventative Medicine.64 IQVIA data reflected the same
       trend, as general/family practitioners wrote more opioid prescriptions than any other specialty.

     74. However, just as there were specialties more inclined to write opioid prescriptions, there were
       specialties with less of a need – such as pediatricians and nutritionists – that were still found as
       opioid prescribers in the IQVIA data. Furthermore, certain specialties with a small number of
       practicing physicians accounted for a disproportionately high number of opioid prescriptions. For
       example, pain management specialists were less than 1% of the number of opioid-prescribing
       physicians nationwide but held a 4% share of the market in terms of prescriptions and had the
       third highest percentage of dosage units (5.4%), as shown in the following table. Similarly,
       physical rehabilitation specialists accounted for 1% of opioid-prescribing physicians but prescribed
       4% of dosage units and 6.3% of MMEs.

     75. The table below ranks each physician specialty on a national level by the number or opioid
       prescriptions written per specialty. Specialties were grouped according to the methodology
       provided at the end of this report. The table that follows displays the percent of prescriptions of



60 “Prescription Information.” IQVIA, www.iqvia.com/locations/united-states/commercial-operations/essential-information/prescription-

information.
61 IMS Health & Quintiles, “National Sales Perspectives & National Prescription Audit Overview.” IQVIA: 2017.
62
   IMS Health & Quintiles, “National Sales Perspectives & National Prescription Audit Overview.” IQVIA: 2017.
63 American Medical Association. April 6, 2011. Characteristics of Opioid Prescriptions in 2009. JAMA Vol. 305, No. 13. <

https://jamanetwork.com/journals/jama/fullarticle/896134> .
64 Levy, Benjamin et al. Trends in Opioid Analgesic—Prescribing Rates by Specialty, U.S., 2007-2012. Am J Prev Med. 2015 September: 49(3):409-

413.

23
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 25
                                                        25of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284230
                                                                             90062



     all drugs for which each specialty was responsible to contextualize the patterns observed for
     opioid prescribers. Note that this list is for reference and does not offer per capita calculations.




24
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 26
                                                        26of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284231
                                                                             90063
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 27
                                                        27of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284232
                                                                             90064
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 28
                                                        28of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284233
                                                                             90065




           1.          Defendant Access to IQVIA Data
       76. I was informed that defendant labelers used IQVIA data to identify their best prescribers – yet
         many of these methods could have instead been applied to detect suspicious prescribers. To
         illustrate this point, I highlight Endo’s 2009 incentive compensation plan for Opana ER, which
         stated:

                 a. “Rx credit is awarded for all physician TRxs (IMS Xponent® normalized prescription data)
                    generated in a representative’s zip code-defined … All sales performance is based on
                    IMX Xponent® normalized prescription data. Payment dates are contingent upon the
                    timely arrival of Xponent® data to Endo for final IC Plan calculations at the close of the
                    trimester.”65

       77. In a 2012 document entitled “Managed Market Summit,” Janssen acknowledges the receipt of
         numerous data sources, including inventory (852), sales (867), returns (180), and chargeback data
         (844/849), which allowed them to “un-blind and unblock” the inventory and shipments to chain
         pharmacies and stores (they also note the data was not available before 2011).66 In later slides,
         they highlight some of the details they could obtain from the data, including down to the NDC and
         store. “For the first time, our sales reps know which pharmacies have purchased, and which high
         decile pharmacies have not purchased our products.”67 In a separate document, Janssen requests
         “updates of hot spot markets prescribers writing the higher strengths so that I can provide that
         data to the JOM Planners and Wholesale Buyers. CSOS will certainly accelerate speed to market
         with shipment”68

       78. Each of the defendant labelers had access to IQVIA Xponent® data. Consequently, the
         compliance metrics were applied to prescriptions of all labeler products, as the labeler defendants
         saw prescriptions of more than just their own products via the IQVIA data. I am further aware that
         labelers had access to point of sale (e.g., 867, IntegriChain) data that could have been leveraged
         for this purpose.69

       79. Documents produced by Purdue reveal that Purdue was programmatically evaluating suspicious
         prescribers on a monthly basis using Xponent® data beginning in 2002, in cooperation between
         their sales team and general counsel. Prescribers were evaluated based on a few mathematical
         patterns, including the percentage of their prescriptions that were paid for in cash.70 This last
         parameter requires data in addition to Xponent®, which was not produced by labeler defendants.
         Physicians identified in this process were known as Region Zero physicians. For purposes of this
         evaluation, I reviewed only Xponent® sales data, though manufacturers have purchased or had
         access to additional data that would have given them even greater insight into prescribing and
         could have aided in their identification of potential diversion. For example, internal Purdue

65 END00697783
66
     JAN-MS-01117436
67 JAN-MS-01117436
68 JAN-MS-01117436
69 JAN-MS-02963355, JAN-MS-02963411, PPLP004418578 - PPLP004422062, PPLP004422064 - PPLP004422150
70
     PDD1503450011

                                                             27
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 29
                                                        29of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284234
                                                                             90066
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 30
                                                        30of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284235
                                                                             90067
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 31
                                                        31of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284236
                                                                             90068
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 32
                                                        32of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284237
                                                                             90069




Figure 2 Number of Dosage Units Flagged by Compliance Metrics, Per Year
(IQVIA – Defendant Labelers; 1997-2006, 2008-2017 Summit, Cuyahoga)
Note: for the Common Sense Flag, the dip in 2008 is caused by the missing 2007 data.




     82. Below is a table that, to the best of my knowledge, displays the physicians who were identified
       by labelers in Summit and Cuyahoga as suspicious or as physicians they were not to call on (e.g.,
       Purdue Region Zero). To be included in the table, defendant labelers had to identify the prescriber
       before there were public reports of their misconduct. All the physicians triggered at least one, if
       not several, of the compliance metrics described above. To the best of my knowledge, despite a
       diligent search undertaken at my direction, there is no documentation indicating that labeler
       defendants reported any of these physicians to law enforcement or regulatory authorities.




                                                                     31
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 33
                                                        33of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284238
                                                                             90070
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 34
                                                        34of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284239
                                                                             90071




           this request in 2011 – the same year that he dramatically reduced his prescribing before stopping
           altogether.

        86. Clive Sinoff wrote an extraordinary number of prescriptions even compared to a specialty group
          that would be expected to prescribe a higher volume of opioids. An anonymous patient spoke to
          the over-prescribing of Dr. Sinoff in an online review on September 4th, 2016: “If I had taken all
          the meds he prescribed I would not be alive today.”101 When the average pain management
          specialist in Ohio was writing less than 500 opioid prescriptions in 2003, Sinoff was writing 2,500
          prescriptions. By 2008, when the average pain specialist was still writing less than 500 opioid
          prescriptions, Sinoff was writing roughly 7,000 prescriptions – approximately 27 prescriptions per
          business day, assuming he never took vacation. Included below is a chart visualizing the number
          of dosage units Sinoff wrote over time, shown in blue, compared to the statewide average among
          his specialty, shown in orange. The vertical lines represent dates at which Sinoff was identified as
          a suspicious prescriber by any defendant labeler, according to produced documents. As shown in
          the chart, Sinoff continued to prescribe for roughly five years after he was first identified as
          suspicious by Purdue.

        Figure 3 Physician Dosage Units Compared to Per Physician Specialty Average: Sinoff
        (IQVIA – all labelers; 1997-2006, 2008-2017)
        The lines below identifying the year in which the physician was identified as suspicious are the earliest reference I could find in produced
        documents.




        87. Two of the three drugs that accounted for more than 5% of Sinoff’s prescriptions were higher
          dose drugs. In fact, the opioid drug and dosage combination that Sinoff wrote the most
          prescriptions for was Purdue OxyContin 80mg. In comparison, pain management specialists
          typically write prescriptions for lower dose drugs, oxycodone 5mg and hydrocodone 5mg. Below
          is a table that displays the labeler and dosage for each drug that accounted for more than 5% of
          Sinoff’s prescriptions.



101
      Sinoff, Clive L. “Pain Medicine.” Find a Doctor - Doctor Reviews and Ratings, 4 Sept. 2016, www.vitals.com/doctors/Dr_Clive_Sinoff.html.

                                                                           33
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 35
                                                        35of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284240
                                                                             90072
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 36
                                                        36of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284241
                                                                             90073
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 37
                                                        37of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284242
                                                                             90074
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 38
                                                        38of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284243
                                                                             90075
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                              1914-4 Filed:
                                     Filed: 07/19/19
                                            07/19/19 39
                                                     39of
                                                        of102.
                                                          102. PageID
                                                               PageID#:
                                                                      #:284244
                                                                        90076
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 40
                                                        40of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284245
                                                                             90077
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 41
                                                        41of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284246
                                                                             90078




         5.           Flagged Prescriber 3: Dr. Ronald Celeste
     95. Located at 6780 Mayfield Road in Mayfield Heights, Dr. Ronald Celeste was another prescriber in
       the IQVIA data who tripped all compliance metrics applied to IQVIA. The following section
       describes how Celeste was flagged and provides a profile of his prescribing patterns, as well as
       any known relevant contact he had with labeler defendants.

     96. A family practitioner in Cuyahoga County, Ronald Celeste wrote prescriptions for drugs and
       dosages that were relatively consistent with others in his specialty. He wrote the greatest number
       of opioid prescriptions for two Mallinckrodt and Teva products of the same drug and dosage type
       – hydrocodone 7.5mg. However, Celeste’s prescribing activity over time was irregular. Celeste’s
       prescriptions skyrocketed in 2007, peaking at almost 8,000 opioid prescriptions in 2008 – when
       other family practitioners were writing less than 500 prescriptions on average. The bulk of his
       prescriptions for defendant-labeled opioids were written between 2008 and 2011, when they
       rapidly declined before ceasing altogether. Such a dramatic uptick in prescriptions caught the
       attention of authorities, who launched a two-year investigation into his practice in 2014.113
       Celeste was recently sentenced to three years in prison for illegally writing tens of thousands of
       prescriptions between 2009 and 2011 alone.114 Included below is a chart visualizing the number of
       dosage units Celeste wrote over time, shown in blue, compared to the statewide average among
       his specialty, shown in orange. The table that follows breaks down his prescribing patterns by
       opioid drug and dosages that accounted for more than 5% of his total prescriptions.

        Figure 9 Physician Dosage Units Compared to Per Physician Specialty Average: Celeste
        (IQVIA – all labelers; 1997-2006, 2008-2017)
        Celeste was identified by Mallinckrodt as suspicious, but I do not have dates for when that identification was made. The lines below
        identifying the year in which the physician was identified as suspicious are the earliest reference I could find in produced documents.




113 “Pill Mill Doctor Headed for Prison.” Pill Mill Doctor Headed for Prison - Cuyahoga County Prosecutor, prosecutor.cuyahogacounty.us/en-

US/SYN//70973/NewsDetailTemplate.aspx.
114 Shaffer, Cory. “Westlake Doctor Sentenced to Prison for Running 'Pill Mill'.” Cleveland.com, Cleveland.com, 5 Apr. 2016,

www.cleveland.com/metro/2016/04/westlake_doctor_sentenced_to_p.html.

                                                                       40
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 42
                                                        42of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284247
                                                                             90079
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 43
                                                        43of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284248
                                                                             90080




      Figure 11 Prescriptions by Labeler Over Time: Celeste
      (IQVIA – Defendant Labelers; 1997-2006, 2008-2017)




      Figure 12 Dosage Units by Labeler Over Time: Celeste
      (IQVIA – Defendant Labelers; 1997-2006, 2008-2017)




    98. Celeste triggered all IQVIA compliance metrics with varying frequencies, the only exception
      being the McKesson 8,000 compliance metric for his Johnson & Johnson prescriptions. He was
      flagged for the highest percentage of months across all labelers by the Double National Average
      compliance metric, triggering it for as high as 93% of the months he wrote opioid prescriptions.
      Below is a table that displays the percentage of total months during which Celeste was prescribing
      that was flagged by the application of the compliance metrics.




                                                  42
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 44
                                                        44of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284249
                                                                             90081
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 45
                                                        45of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284250
                                                                             90082
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 46
                                                        46of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284251
                                                                             90083
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 47
                                                        47of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284252
                                                                             90084
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 48
                                                        48of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284253
                                                                             90085




          Harper most often prescribed oxycodone: all of the opioids he wrote at greater than 5% of his
          total prescriptions were oxycodone products, two of which were of higher dosage strength.
          Oxycodone 80mg pills accounted for more than 6% of all of his prescriptions. Compared to other
          gynecologists in Ohio, this deviated substantially from the norm. On average, Ohio gynecologists
          typically wrote a mix of low dose prescriptions for oxycodone, hydrocodone, and codeine.

        105. Harper pled guilty in 2014 to counts that included conspiracy to traffic drugs, health care fraud,
          and sixteen separate counts of drug trafficking. Purdue first recommended that representatives
          cease to call on Harper in 2005.123 Below are tables that display the labeler and dosage for each
          drug that accounted for more than 5% of Harper’s prescriptions. Also included is a chart
          visualizing the number of total prescriptions Harper wrote over time, shown in blue, compared to
          the statewide average among his specialty, shown in orange. The vertical lines represent dates at
          which Harper was identified as a suspicious prescriber by any defendant labeler, according to
          produced documents. As shown in the chart, Harper continued to prescribe in high volume
          subsequent to these dates.

          Figure 16 Physician Dosage Units Compared to Per Physician Specialty Average: Harper
          (IQVIA – all labelers; 1997-2006, 2008-2017)
          Harper was also identified by Mallinckrodt as suspicious, but I do not have dates for when that identification was made. The lines below
          identifying the year in which the physician was identified as suspicious are the earliest reference I could find in produced documents.




123
      PPLP004474184, PPLPC012000283175

                                                                       47
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 49
                                                        49of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284254
                                                                             90086
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 50
                                                        50of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284255
                                                                             90087




       Figure 17 Prescriptions by Labeler Over Time: Harper
       (IQVIA – Defendant Labelers; 1997-2006, 2008-2017)




       Figure 18 Dosage Units by Labeler Over Time: Harper
       (IQVIA – Defendant Labelers; 1997-2006, 2008-2017)




    107. Harper was captured by all four compliance metrics applied to prescribers for every defendant
      labeler except Johnson & Johnson. However, according to IQVIA data, Harper only prescribed
      Johnson & Johnson for one month of his career. Harper tripped the Double National and Triple
      National Average metrics for nearly 100% of months he prescribed the products of every labeler,
      except Johnson & Johnson. He was flagged for roughly one-fourth of all months he prescribed
      Endo-, Mallinckrodt-, Purdue-, and Teva-labeled opioids for the 8,000 dosage units threshold.

                                                  49
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 51
                                                        51of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284256
                                                                             90088
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 52
                                                        52of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284257
                                                                             90089
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 53
                                                        53of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284258
                                                                             90090
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 54
                                                        54of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284259
                                                                             90091
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 55
                                                        55of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284260
                                                                             90092




    114. I first assume that Janssen flagged the prescribers appropriately identified in the IQVIA metrics
      and that Janssen subsequently reported those suspicious prescribers to the DEA or other
      regulatory authorities and stopped supplies to the doctors. This ultimately assesses how such
      diligence by Janssen would have impacted the number of opioids in circulation if the flagged
      prescribers were stopped from writing prescriptions at the earliest indication of irregular
      behavior. I have given Janssen benefit of the doubt that they only would have flagged doctors
      starting on whichever date was later: either a prescriber’s earliest flagging date or the issue date
      of a prescriber’s first prescription in their sixth month of prescribing Janssen’s products. I chose
      this method despite the fact that Janssen (like other labelers) was using IQVIA data for their
      competitors’ drugs as well as their own and would have been aware of doctors that were not
      Janssen prescribers.

    115. Extrapolated to all flagged prescribers, even a small labeler like Janssen could have had a
      curtailing effect on the excess of opioids prescribed in the counties. Problematic prescribers
      would have had to stop prescribing opioids made by all labelers, not only those made by the
      labeler who reported them. I used three metrics in this methodology: Double National Average,
      Triple National Average, and Common Sense. Because the McKesson 8,000 dosage units metric
      applies to only oxycodone and hydrocodone products, this metric is not applicable to Janssen.

    116. The tables below provide an overview of the prescriptions, dosage units, and MMEs that could
      have been stopped if Janssen had applied three of the IQVIA metrics to Summit and Cuyahoga
      doctors and reported and stopped the supply to each flagged physician. As shown, Janssen could
      have stopped up to 15% of all prescriptions written in Summit and Cuyahoga counties between
      1997 and 2017, depending on which compliance metric it used. By use of the Double National
      Average metric alone, Janssen could have stopped around 14% of transactions in the counties.
      Similar percentages of prescriptions could have been stopped according to the other compliance
      metrics. The tables further highlight the number of suspicious doctors who could have been
      potentially identified. Included with each table is a corresponding graph that visualizes the
      number of actual prescriptions, shown in orange, compared to the number of prescriptions that
      could have been potentially stopped, shown in blue, had Janssen employed the methodology.




                                                    54
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 56
                                                        56of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284261
                                                                             90093
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 57
                                                        57of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284262
                                                                             90094




       10.      Baseline Year Analysis
    117. I was asked by counsel to determine what would have been flagged by the methodology if
      prescribing thresholds were set to a baseline year instead of operating as self-referential
      averages. Given the fact that opioid prescriptions rose significantly nationwide from 1997 through
      2011, 1997 was selected as the baseline year. This prevented thresholds from increasing
      alongside the rising volume of opioids and treated each prescriber of defendant-labeled opioids
      as though total prescriptions, dosage units, and MMEs as prescribed in 1997 were appropriate
      baseline values. Below is a graph that displays how the total number of prescriptions rose over
      the years in IQVIA data as compared to the value of prescriptions in 1997.

      Figure 22 Total Prescriptions Over Time Compared to 1997 Prescription Total
      (IQVIA – Defendant Labelers; 1997-2006, 2008-2017 Summit, Cuyahoga)




    118. The 1997 benchmark was applied to physicians for three compliance metrics applied to IQVIA
      data: Double National Average, Triple National Average, and Common Sense. This analysis was
      only completed using IQVIA data, as chargeback data had varying production dates by defendant
      and would have yielded uneven results and the ARCOS data started much later (2006), after the
      volume of opioids nationwide had already considerably risen.

    119. To benchmark the Double National Average compliance metric to 1997, I calculated the
      average monthly prescriptions, prescribed dosage units, and prescribed MMEs for each prescriber
      specialty and drug code in 1997. Prescribers were flagged if the volume of their prescriptions,
      prescribed dosage units, or prescribed MMEs were more than twice the 1997 monthly average for
      their cohort. This metric was only applied to prescriber specialties and drug codes that appear in
      the IQVIA data for 1997.




                                                  56
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 58
                                                        58of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284263
                                                                             90095
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 59
                                                        59of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284264
                                                                             90096
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 60
                                                        60of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284265
                                                                             90097
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 61
                                                        61of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284266
                                                                             90098
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 62
                                                        62of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284267
                                                                             90099
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 63
                                                        63of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284268
                                                                             90100
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 64
                                                        64of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284269
                                                                             90101




        127. The section that follows analyzes suspicious pharmacies about which labelers could have
          known and reported, given that all labeler defendants had their chargeback data. Therefore, each
          labeler included in this analysis could have been aware of all purchasing activity flagged by this
          methodology. All labelers were subject to every compliance metric but were flagged only for their
          own transactions. Note that calculations were not made on a per capita basis. Nonetheless, every
          example pharmacy was found to purchase at a significantly higher rate than the median pharmacy
          in Summit and Cuyahoga counties. These abbreviated case studies on individual pharmacies is not
          meant as a list of every suspicious pharmacy in Cuyahoga and Summit but intended to provide
          examples of the data that labelers had that clearly revealed suspicious pharmacies who dispensed
          millions of pills into Cuyahoga and Summit counties.

           2.       Flagged Pharmacy 1:
        128. Located at                   in Cleveland,             was flagged many times by the
          methodology. The following section describes how                 was flagged and provides a
          profile of the pharmacy’s transaction patterns with the labeler defendants. Totals were calculated
          by ARCOS and then by chargeback data to provide as complete a picture as possible of pharmacy
          purchasing patterns. The section ends with descriptions of how the flagging methodology was
          applied to             . To the best of my knowledge,                    was the only pharmacy in
          either Summit County or Cuyahoga County that was identified by any defendant labeler
          (Mallinckrodt) as potentially suspicious.146

        129. A single location of a pharmacy chain,                purchased enough opioids to supply
          Cuyahoga County with almost 2 million dosage units in just eight years, according to ARCOS data.
          Most opioids purchased by                  were labeled by Mallinckrodt, which labeled almost
          three-quarters of all dosage units that the pharmacy purchased. Mallinckrodt alone labeled more
          products that        s purchased than all other defendant labelers combined. The other two
          leading drugs that        ’s purchased were high dose Purdue products. Mallinckrodt was the only
          defendant labeler to identify the pharmacy as suspicious, placing them on a 2016 “cut off
          pharmacy” list.147 Below are tables that display the drug, dosage, and labeler combinations that
                        purchased for more than 5% of transactions, dosage units, and MMEs. Also included
          is a table and graph that display this information per labeler, both in total and over time.




146 MNK-T1_0001315847
147
      MNK-T1_0001315847

                                                      63
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 65
                                                        65of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284270
                                                                             90102
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 66
                                                        66of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284271
                                                                             90103
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 67
                                                        67of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284272
                                                                             90104
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 68
                                                        68of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284273
                                                                             90105
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 69
                                                        69of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284274
                                                                             90106
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 70
                                                        70of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284275
                                                                             90107
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 71
                                                        71of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284276
                                                                             90108
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 72
                                                        72of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284277
                                                                             90109
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 73
                                                        73of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284278
                                                                             90110
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 74
                                                        74of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284279
                                                                             90111
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 75
                                                        75of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284280
                                                                             90112
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 76
                                                        76of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284281
                                                                             90113
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 77
                                                        77of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284282
                                                                             90114
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 78
                                                        78of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284283
                                                                             90115
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 79
                                                        79of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284284
                                                                             90116
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 80
                                                        80of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284285
                                                                             90117
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 81
                                                        81of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284286
                                                                             90118
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 82
                                                        82of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284287
                                                                             90119
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 83
                                                        83of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284288
                                                                             90120
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 84
                                                        84of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284289
                                                                             90121




            M. Downstream Customers of Suspicious Orders
        154. Mallinckrodt produced over 70,000 records containing what they deemed peculiar purchases
          made by distributors and sent to distribution centers around the country. Over 58,500 of these
          records were for opioids (not including medically-assisted treatment drugs).156 The documents
          contained peculiar order reports specifically prepared by Mallinckrodt for this litigation to
          demonstrate the scope of their peculiar order monitoring.

        155. In addition to the produced data, internal Mallinckrodt communications show employees
          actively monitoring nationwide chargeback data as received from their direct customers to glean
          information about potential diversion happening at the downstream customer level. While many
          different business activities are downstream customers, I limited this portion of the analysis only
          to pharmacies. Beginning no later than 2010, Mallinckrodt was monitoring customer purchasing
          habits for the ratio of controlled to non-controlled substances and the number of different
          distributors that a customer ordered from.157 Two formulations of oxycodone were specifically
          monitored– oxycodone 15mg and 30 mg158 – as well as hydrocodone/APAP.159 Mallinckrodt went
          so far as to specifically exclude oxycodone 15mg and 30mg from sales and rebate agreements
          with buyers at a time when they were rewriting customer agreements that encouraged collection
          of chargeback data.160 Mallinckrodt was also acutely aware in 2010 of the large percentage of its
          oxycodone products that were purchased with cash in the state of Florida, another key indicator
          of the potential for diversion.161

        156. As neither Summit nor Cuyahoga counties were the home of any major distributor, none of the
          listed recipients in the peculiar transactions data were located in these counties. I was directed by
          counsel to determine if I could trace the purchase by buyers located in Summit or Cuyahoga
          counties of a particular NDC product, bought around the time Mallinckrodt deemed the order
          peculiar. Mallinckrodt also produced chargeback data that contained information regarding
          purchases by pharmacies and other end buyers.162 I used this data to identify Summit and
          Cuyahoga buyers that purchased an opioid product from a distributor within three days (before or
          after) of that distributor being deemed peculiar by Mallinckrodt for a transaction involving that
          same opioid product.

        157. McKesson Corporation and Cardinal Health distribution centers totaled roughly $500 million
          and $475 million, respectively in peculiar orders placed to Mallinckrodt. Some smaller distributors
          like the Smith Drug Company and H.D Smith were among the top five in number of transactions
          deemed peculiar. Below is a list of the ten largest sold to companies with peculiar transactions.




156 MNK-T1_0008592627
157 MNK-T1 0002357154
158
      MNK-T1 0000368647, MNK-T1 0000368646, MNK-T1 0000280621
159 MNK-T1_0000561489, MNK-T1_0000561491
160 MNK-T1 0000368649
161 MNK-T1_0000391545
162
      MNK-T1_0007965587 - MNK-T1_0007965588

                                                                83
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 85
                                                        85of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284290
                                                                             90122
Case: 1:17-md-02804-DAP Doc #: 1914-4 Filed: 07/19/19 86 of 102. PageID #: 284291
Case: 1:17-md-02804-DAP Doc #: 1914-4 Filed: 07/19/19 87 of 102. PageID #: 284292
Case: 1:17-md-02804-DAP Doc #: 1914-4 Filed: 07/19/19 88 of 102. PageID #: 284293
Case: 1:17-md-02804-DAP Doc #: 1914-4 Filed: 07/19/19 89 of 102. PageID #: 284294
Case: 1:17-md-02804-DAP Doc #: 1914-4 Filed: 07/19/19 90 of 102. PageID #: 284295
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 91
                                                        91of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284296
                                                                             90128




              ENDO_DATA-OPIOID_MDL-00000044) had different sets of columns. These files were
              merged into one table.
          v. Par: Six files produced by Par were loaded for this analysis
              (PAR_OPIOID_MDL_0001596821 - PAR_OPIOID_MDL_0001596826) with identical
              schemas.
          w. Qualitest: Seventy-four files produced by Qualitest were loaded for this analysis
              (PAR_OPIOID_MDL_0002016651 - PAR_OPIOID_MDL_0002016659;
              PAR_OPIOID_MDL_0002016661 - PAR_OPIOID_MDL_0002016719;
              PAR_OPIOID_MDL_0002016721 - PAR_OPIOID_MDL_0002016726) with identical
              schemas.
          x. Janssen: A single file (JAN-MS-03108830) produced by Janssen was loaded and used for
              this analysis.
          y. Mallinckrodt: Two files from Mallinckrodt (MNK-T1_0007965587 and MNK-
              T1_0007965588) had identical schemas.
          z. Purdue: 3,572 files of 867 data with five different schemas were then merged into a
              single table. One Bates number, PPLP004422063, was removed from consideration
              because its schema did not match with any of the other 3,572 files and it did not have
              header information.
          aa. Actavis: Eleven files produced by Actavis were loaded for this analysis
              (Acquired_Actavis_02001522; Acquired_Actavis_01996164 -
              Acquired_Actavis_01996173) with slightly different schemas. These files were merged
              and loaded into one table.
          bb. Allergan: Five files produced by Actavis were loaded for this analysis, with four of them
              (ALLERGAN_MDL_03303052_001, ALLERGAN_MDL_03255576_0002,
              ALLERGAN_MDL_03255576_0005, ALLERGAN_MDL_03255576_0008) having similar
              schemas. These files were merged and loaded into one table. There was one file
              (ALLERGAN_MDL_03729472) with a completely different schema also loaded.
          cc. Teva: 27 files with five different schemas were used in this analysis. Of those files, 22
              had column headers and were merged into a single data table. These files are listed
              below:
                     i. TEVA_MDL_A_02401118
                    ii. TEVA_MDL_A_02416193 - TEVA_MDL_A_02416204
                   iii. TEVA_MDL_A_02419960
                   iv. TEVA_MDL_A_02419961
                    v. TEVA_MDL_A_02419963
                   vi. TEVA_MDL_A_02419964 - TEVA_MDL_A_02419969
                  vii. Additionally, there were four Teva files (TEVA_MDL_A_08637273 -
                        TEVA_MDL_A_08637277) that did not contain any column headers. Column
                        headers for these files were inferred using information from a file from the
                        Allergan production (ALLERGAN_MDL_03729472). The formats between the
                        Allergan file and these Teva files were almost identical, thus the Teva headers
                        were able to be inferred.




                                                 90
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 92
                                                        92of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284297
                                                                             90129




                a.      Field Mapping
    167. A core set of fields were extracted from each of the documents, where available. These metric
      names varied between documents but were understood to have the same underlying meaning.
      The core data utilized from the chargeback productions were:
            dd. Buyer-specific identification numbers, names, and locations
            ee. Wholesaler/reporter-specific identification numbers and names
            ff. Drug-specific NDC numbers and trade names
            gg. Transaction-specific metrics, specifically the invoice date and quantity of items included
                in the transaction

    168. The table below shows the columns used from each production to populate the core values of
      the summary table used for the analysis.




                                                    91
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 93
                                                        93of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284298
                                                                             90130
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 94
                                                        94of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284299
                                                                             90131




                b.      Summary Chargeback Field Descriptions
    169. Below are descriptions of the fields extracted from the chargeback data into the summary table
      used for the analysis:
            hh. Buyer DEA No: A registration number assigned to healthcare professionals by the Drug
                Enforcement Administration that identifies them and allows them to prescribe or
                dispense controlled substances
            ii. Buyer ID No: A unique identifier assigned by individual labelers to buyers to track orders
                placed by and shipped to specific buyers
            jj. Buyer Bus Act: A category assigned to buyers based on their entity type (i.e., whether
                they are a retail pharmacy, practitioner, hospital, chain pharmacy, etc.)
            kk. Buyer Name: Name of organization or individual buyer
            ll. Buyer Address: Street address and suite number of buyer
            mm.          Buyer City: City in which buyer was located at time of purchase
            nn. Buyer County: County in which buyer was located at time of purchase
            oo. Buyer State: State in which buyer was located at time of purchase
            pp. Buyer Zip: Zip code in which buyer was located at time of purchase
            qq. Reporter DEA No: A registration number assigned to healthcare professionals by the
                Drug Enforcement Administration that identifies them and allows them to distribute
                controlled substances
            rr. Reporter ID No: A unique identifier assigned by individual labelers to distributors to
                track who was the seller in specific transactions
            ss. Reporter Name: Corporate (DBA) or first and last name of reporter
            tt. NDC: A universal product identifier that identifies the labeler, product code, and
                package code in a unique 10-digit, 3-segment number
            uu. Trade Name: The brand name of a drug approved by the Food and Drug Administration
                that is used for proprietary of trademark purposes
            vv. Unit Of Measure: The way in which an order was packaged (i.e., box, tablet, etc.)
            ww.          Invoice Date: Date of transaction
            xx. Invoice Order Quantity: The number of NDC packages contained in an order

                c.      Exclusions
    170. Data was removed from the production for the following reasons and in this exact order:
           yy. Product Returns: There were instances in the chargeback data where invoice quantities
               were negative This was inferred to mean that the transaction was a return or reversal.
               These transactions – totaling almost 3.8 million rows of data – were removed from the
               data.
           zz. Null Invoice Date - There were instances in the chargeback data where invoice date was
               blank, missing, or null. These transactions – totaling almost 1.9 million rows of data –
               were removed from the data.
           aaa.        Null NDCs and Trade Name - There were instances in the chargeback data where
               value for NDC and trade name were blank, missing, or null. These transactions were
               removed from the data.


                                                   93
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 95
                                                        95of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284300
                                                                             90132



              bbb.         Invalid NDCs - NDC values were identified that could not be validated by DEA,
                   FDA, or CMS data sources. In addition, there was no product or trade name provided for
                   the NDC values. These NDCs were removed from the data.
              ccc. Not Included Opioids - NDC values that were not opioids that are to be analyzed in the
                   case were identified. These NDCs were removed from the data.
              ddd.         Duplicates: There were records where the entire line of data was the exact same
                   as another row in the dataset. These records were removed from the data.

                   d.       Data Cleaning and Enrichment
    171. National Drug Codes: The National Drug Code (NDC) is an 11-digit code that identifies the
      specific drug product exchanged the transaction. There were over 2,300 unique values in the NDC
      field. Dashes from values in NDC field were removed and when codes were in a 9 or 10 digit
      format, they were converted to 11-digit codes, using the 5-digit, 4-digit, 2-digit formatting as
      shown described below.169

         Table 81 NDC Conversion to 11-Digit Format




    172. Buyer ID Number: The buyer DEA number was used as the primary buyer-specific unique
      identification number. Where this value was null, buyers were uniquely identified using the
      following steps:
            eee.          Where it was null, a buyer DEA number was assigned to records in the ARCOS
                 data that had the same name, address, and zip code as a buyer in the chargeback data.
            fff. For records involving the same buyer id number but where one buyer DEA number was
                 null and the other was not null, the buyer DEA number was updated using the non-null
                 value for buyer id number as produced in the data.
            ggg.          Some non-DEA buyer identification numbers were reused by labelers or used to
                 identify multiple buyers in certain regions. For example, the buyer id “007874207” from
                 Qualitest applied to 16 different buyers across the United Sates. To create a truly unique
                 id for these buyers, a distinct “hash” was created by combining the buyer id, buyer
                 name and buyer address.
            hhh.          Where a buyer DEA number and buyer id number was still null, a unique
                 identifier was created via a hash of the labeler name and buyer name.



169 PHPA, Maryland.gov. <https://phpa.health.maryland.gov/OIDEOR/IMMUN/Shared%20Documents/Handout%203%20-

%20NDC%20conversion%20to%2011%20digits.pdf>

                                                            94
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 96
                                                        96of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284301
                                                                             90133



             iii. Just over 1,000 records of the over 300 million that were loaded into the dataset did not
                  have enough information to create a unique id – these buyers were dropped from the
                  analysis.
    173. Buyer State: state abbreviations (e.g. NY, CO, OH) were cleaned and checked to be official state
      abbreviations.
    174. Zip Codes: were trimmed or padded to five digits when reported in different lengths. For
      example, the zip code “7097” was cleaned to “07097”.
    175. Trade Name: is the brand or generic name of a particular NDC product. Where this value was
      null, it was filled in using the following steps:
             jjj. If there was another record in the chargeback data with the same NDC code and a non-
                  null trade name, the trade name was updated using the non-null value.
             kkk.The product name was added based on the NDC from the FDA National Drug Code
                  Directory.
             lll. The trade name was added based on the NDC from the DEA’s National Drug Code
                  Dictionary.
             mmm.          A valid trade name was not extracted for 489 NDCs produced by Qualitest
    176. Drug Name: is the opioid family of a particular NDC. Where this value was null, it was filled in
      using the following steps:
             nnn.          A drug name was assigned (e.g. oxycodone, fentanyl, etc.) based on the NDC
                  using the DEA’s National Drug Code Dictionary.
             ooo.          A drug name was assigned (e.g. oxycodone, fentanyl, etc.) based on the NDC
                  and substance name using the FDA’s National Drug Code Dictionary.
             ppp.          Where the above steps did not produce a drug name, it was assigned based
                  upon the trade name of the NDC. For example, for NDC “00591093201”, the trade name
                  was “OXYCODONE/APAP 10/325MG TAB 100” and was assigned the drug name of
                  “Oxycodone”.
    177. Unit of Measure: is the unit in which the package quantity was being given (e.g, tablets) for a
      particular NDC product. Where this value was null, it was filled in using the following steps:
             qqq.          A unit of measure (e.g., tablet, milliliters, etc.) was assigned based on the NDC
                  using the CMS NDC file based on the NDC code.
             rrr. Where the above step did not produce a unit of measure, a unit of measure was
                  extracted from the trade name. For example, using the trade name “OPANA IR 5MG TAB
                  100,” the unit of measure would be assigned to tablet.
    178. Package Quantity: is the total amount pills or tabs in a package of each drug product. To
      calculate the total amount of opioids associated with each chargeback transaction, it is necessary
      to know the total amount of pills or tabs in a package of each drug product.
    179. A package quantity was assigned based on the NDC using the DEA’s National Drug Code
      Dictionary.
    180. Where the above step did not produce a package quantity, a package quantity was assigned
      based on the NDC using the CMS’s NDC file.
    181. Where the above step did not produce a package quantity, a package quantity was assigned
      based on the trade name of the product. For example, using the trade name “OPANA IR 5MG TAB
      100,” the package quantity would be assigned to 100.



                                                    95
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 97
                                                        97of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284302
                                                                             90134
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 98
                                                        98of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284303
                                                                             90135
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                               1914-4 Filed:
                                      Filed: 07/19/19
                                              07/19/19 99
                                                        99of
                                                           of102.
                                                              102. PageID
                                                                   PageID#:
                                                                          #:284304
                                                                             90136



                      Allergan          0
                        Teva           61
                       Total        8,730,962



                    g.           Mismatched Labelers
      195. Since the first five digits (the “labeler code”) of an NDC code identify the labeler of a product, it
        was possible to check the NDC codes in the chargeback data submitted by a labeler for the
        appropriate labeler code. There were several instances of labeler codes in the chargeback data
        that referred to drug products manufactured by labelers different from the one who produced
        the data. For example, there was chargeback data included in the Actavis chargeback data for
        products with NDC codes 78010705, 78024305 and 78010305, which have a labeler prefix of
        78010 indicating they were labeled by Novartis. However, research indicated that these products
        were purchased by Watson Labs (later acquired by Actavis) from Novartis in 2003171 and
        therefore Actavis received chargeback requests regarding these products even though the labeler
        code of the product refers to a different labeler. Similarly, the chargeback data for Par
        Pharmaceuticals included data for Kadian products labeled by Actavis, because Par purchased this
        product from Actavis in 2012.172 This data was kept in full.

         4.         Mallinckrodt Peculiar Transactions Data
      196. Mallinckrodt peculiar transactions data was produced to plaintiffs’ counsel through MNK-
        T1_0008592627.
             a. NDC codes (produced under the column name “ndc_item_number”) that were nine
                  digits long were padded with zeros on the left to convert them to 11-digit NDC codes.
             b. The “sold_to_alpha_name” and “ship_to_alpha_name” were changed to the name of
                  the parent company:
             c. “ANDA INC” was renamed “TEVA PHARMACEUTICALS”
             d. “ENCLARA PHARMACIA INC” and “EXCELLE PHARMACIA WHOLESALE” were renamed
                  “OMNICARE INC”
             e. “ONEPOINT PATIENT CARE” was renamed “PROFESSIONAL PHARMACY INC”
             f. “BELLCO DRUG CORP” was renamed “AMERISOURCEBERGEN CORPORATION” and
                  grouped together with the existing recipient of that name
             g. The peculiar transactions data was joined to Confidential ARCOS using
                  “ship_to_dea_number” to obtain name and location information for recipients whose
                  names were listed as “CLOSED PER DI” in the peculiar transactions data.




171  “COMPANY NEWS; WATSON PHARMACEUTICALS TO BUY 4 HEADACHE MEDICINES.” The New York Times, The New York Times, 23 Jan.
2003, www.nytimes.com/2003/01/23/business/company-news-watson-pharmaceuticals-to-buy-4-headache-medicines.html.
172 “Par Pharma To Buy 14 Generic Products From Watson And Actavis Group.” RTTNews, RTTNews, www.rttnews.com/1983555/par-pharma-

to-buy-14-generic-products-from-watson-and-actavis-group.aspx.

                                                               98
Case: 1:17-md-02804-DAP
           m    80      Doc #: 1914-4
                                9     Filed: 07/19/19
                                             0 9 9 10000of 102.
                                                            0 PageID #: 284305
                                                                         0 3
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                              1914-4 Filed:
                                     Filed: 07/19/19
                                            07/19/19 101
                                                     101of
                                                         of102.
                                                           102. PageID
                                                                PageID#:
                                                                       #:284306
                                                                         90138




       P. Exhibit 1 – Lacey Keller Resume




                                      100
Case:
Case:1:17-md-02804-DAP
      1:17-md-02804-DAP Doc
                        Doc#:
                            #:1914-4
                              1914-4 Filed:
                                     Filed: 07/19/19
                                            07/19/19 102
                                                     102of
                                                         of102.
                                                           102. PageID
                                                                PageID#:
                                                                       #:284307
                                                                         90139




       Q. Exhibit 2 – Results of Manufacturer to Prescriber Analysis
          Compliance Metric Application
    198. See accompanying Excel workbook.

       R. Exhibit 3 – Results of Manufacturer to Pharmacy Analysis
          Compliance Metric Application
    199. See accompanying Excel workbook.

       S. Exhibit 4 – Code
    200. See accompanying file.




                                            101
